     Case 1:22-mc-03326-VMS Document 1 Filed 11/10/22 Page 1 of 7 PageID #: 1

                       MINUTE ENTRY FOR CRIMINAL PROCEEDING

BEFORE MAG.JUDGE             Vera M,Scanion                               DATE :      11/9/22

DOCKET NUMBER:              22CR500fNMl                           Tog#:                  Tfi
DEFENDANT'S NAME :               Andrew Pagan
                              J Present           Not Present       y/ Custody            Bail
DEFENSE COUNSEL:             /
                            \/ Federal Defender            CJA                Retained
            fr.'t
A.U.S.A:    John Enright                              CLERK:       Felix Chin

INTERPRETER :                                              (Language)

>( Defendant arraigned on the : \/indictment          superseding indictment           probation violation
\/ Defendant pleads NOT GUILTY to ALL counts.
     DETENTION HEARING Held. _J_ Defendant's first appearance.
              Bond set at                              . Defendant         released      held pending
              satisfaction of bond conditions.
              Defendant advised of bond conditions set by the Court and signed the bond.
              Surety(ies) sworn, advised of bond obligations by the Court and signed the bond.
              (Additional) surety/ies to co-sign bond by
              After hearing, Court orders detention in custody.           Leave to reopen granted
       Temporary Order of Detention Issued. Bail Hearing set for

 \J At this time, defense counsel states on the record that the defendant does not have a bail
      application / package. Order of detention entered with leave to reapply to a Magistrate
      or to the District Court Judge to whom the case will be assigned.

 \f Order of Excludable Delay/Speedy Trial entered. Start,                      Stop
 J Rule 5f warnings given to the govt.               Medical memo issued.
       Defendant failed to appear, bench warrant issued.

 J Status conference set for wl ^                    @              before Judge
Other Rulings :
          Case 1:22-mc-03326-VMS Document 1 Filed 11/10/22 Page 2 of 7 PageID #: 2

                                                  United States District Court
                                              EASTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
                        V.                                                  ORDER OF DETENTION PENDING TRIAL


                          f.y.                                              Case Number:
           In accordance with the Bail Reform Act. 18 U.S.C. §3142(0, a detention hearing has been held. I conclude that the following facts
require the detention ofthe defendant pending trial in this case.

                                                             Part 1 - Findings of Fact
    (l)The defendant is charged with an offense described in 18 U.S.C. §3142(0(1)and has been convicted ofa(federal offense)
         (State or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed)
             that is
                 a crime of violence as defined in 18 U.S.C. §3156(a)(4).
                 ^an offense for which the maximum sentence is life imprisonment or death.
                 an offense for which a maximum term of imprisonment of ten years or more is prescribed in                             .
                a felony that was committed after the defendant had been convicted oftwo or more prior federal offense described in
                  18 U.S.C. §3142(0(1)(A)-(C),or comparable state or local offenses.
     ^(2) The offense described in finding(1)was committed while the defendant was on release pending trial for a federal, state or local
            offense.
     ^(3) A period of not more than five years has elapsed since the(date ofconviction)(release ofthe defendant from imprisonment)
               for the offense described in finding (1).
     ^(4) The defendant has not rebutted the presumption established by finding Nos.( 1),(2)and (3)that no condition or combination of
conditions will reasonably assure the safety of(an)other person(s) and the community.

                                                             Alternative Findings(A)
     (1) There is probable cause to believe that the defendant has committed an offense
               for which a maximum term of imprisonment of ten years or more is prescribed in           21 U.S.C. S                            .
                       under 18 U.S.C. §924(c).
     (2) The defendant has not rebutted the presumption established by finding(1)that no condition or combination of conditions
               will reasonably assure the appearance ofthe defendant as required and the safety of the community.

                                                             Alternative Findings(B)
     (1)      There is a serious risk that the defendant will not appear.

     (2)      There is a serious risk that the defendant will endanger the safety ofanother person or the community.



                                              Part II - Written Statement of Reasons for Detention
         1 find that the credible testimony and information submitted at the hearing establishes by a preponderance ofthe evidence/clear and
convincing evidence that no conditions will reasonably assure defendant's appearance/the safety ofthe community because
           defendant lacks substantial ties to the community.
           defendant is not a U.S. citizen and an illegal alien.
           defendant has no stable history ofemployment.
           defendant presented no credible sureties to assure his appearance.
           _x/but leave is granted to reopen and present a bail package in the future.
           defendant's family resides primarily in                .                                                    ^'    Z'




                                     (_ ]            Part ill - Directions Regarding Detention
         The defendant is a>mmined to the custody ofthe Attorney General or his designated representative for confinement in a corrections
 facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The defendant
 shall     afforded a reasonable opportunity for private consultation with defense counsel. On order of a court ofthe United States or on request
 ofan attomey for the Government, the person in charge ofthe corrections facility shall deliver the defendant to the United Stales marshal for
 the purpose ofan eippearance in connection with a court proceeding.

 Daled: '•/'] .2oA^-
             Brooklyn, New York                                                   »
                                                                                   /Z
                                                                                         UNITED STATES MAGISTRATE JUDGE
Case 1:22-mc-03326-VMS Document 1 Filed 11/10/22 Page 3 of 7 PageID #: 3



                                       UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF NEW YORK



    UNITED STATES OF AMERICA
                                                                  APPLICATION AND
                                                                  ORDER OF EXCLUDABLE DELAY
                     -V-

                                                                Case No.




         The United States of America and the defendant hereby jointly request that the time period from
   Mos>eMbfr ^             to            i^T-2-be excluded from the computation of the time period within which
        ( )       an information or indictment must be filed, or(XW)
        (         trial of the charges against defendant must commence. (XC)

The parties seek the exclusion of the foregoing period because

         ( ) they are engaged in plea negotiations, which they believe are likely to result in a disposition of this
case without trial, and they require an exclusion oftime in order to focus efforts on plea negotiations without the risk
that they would not, despite their diligence, have reasonable time for effective preparation for trial,
         ( ) they need additional time to prepare for trial due to the complexity of case,


        The defendant states that he/she has been fully advised by counsel of his/her rights guaranteed under the
Sixth Amendment to the Constitution; the Speedy Trial Act of 1974, 18 U.S.C. §§ 3161-74; the plan and mles of
this Court adopted pursuant to that Act; and Rule 50(b) of the Federal Rules of Criminal Procedure. The defendant
understands that he/she has a right to be tried before a jury within a specified time not counting periods excluded.


Defendant                                                         For U.S. Attomey, E.D.N.Y.


Counsel for Defendant



         The joint application of the United States of America and the defendant having been heard at a proceeding
on the date below, the time period from \1 H I "2 "L-          to 17-M /           is hereby excluded in computing
the time within which( )an information or indictment must be filed or(Xmust commence. The Court finds
that this exclusion of time serves the ends ofjustice and outweigh the interests ofthe public and the defendant in a
speedy trial for the reasons discussed on the record and because
        ( t^-^ven the reasonable likelihood that ongoing plea negotiations will result in a disposition of this case
witliout trial, the exclusion of time will allow all counsel to focus their efforts on plea negotiations without the risk
that they would be denied the reasonable time necessary for effective preparation for trial, taking into account the
exercise of due diligence.                                                                                           ,
         ( ^) I'-b ^ Wvl) g/itbic                                                   cm) O.^rp IcVg,

         so ORDERED.


Dated: Brookl/n, N.Y
            /rff   3.x.
                                                                            United States Magistrate Judge
             Case 1:22-mc-03326-VMS Document 1 Filed 11/10/22 Page 4 of 7 PageID #: 4

  CJA-23
(Rev 3/21)
                                                 FINANCIAL AFFIDAVIT
                    IN SUPPORT OF REQUIZST FOR ATTORNEY,EXPER'i", OR OTHER SERVICES WITHOUT PAYMENT OF FEE

IN THE UNITED STATES           □ DISTRICT COURT                □ COURT OF APPEALS      □ OTHER (Specify Below)
                                                                                       FOR                                               LOCATION
IN THE CASE OF
                                                                                                                                         NUMBER

United States                            V. Pagan                                      AT




    PERSON REPRESENTED (Showyourfull name)
                                                                                       1 0 Dclciidani - Adult             DOCKET NUMBERS
                                                                                       2 D Defendant - Juvenile          Magistrate Judge

Andrew Pagan                                                                           3 0 Appellant
                                                                                                                         District Coun
                                                                                       40 Probation Violator
                                                                                       5 0 Supervised Release Violator
    CHARGE/OFFENSE (Describe if iipplicoble     check box—*)   [3 Felony                                                 Court of Appeals
                                                                                       6 0 Habeas Petitioner
                                                               □ Misdemeanor           7 0 2255 Petitioner
21 U.S.C. 841(a) and 841(b)(1)(A)                                                      8 0 Material Witness
                                                                                       9 0 Other (Specify)

                                ANSWERS TO QUESTIONS REGARDING ABILITY TO PAY

                                          Do you have a job? DYes LyiNo
                 EMPLOYMENT               IF YES, how much do you earn per month?
                                          Will you still have a job after this arrest? DYes                    OJnknown
                                          Do you own any of the following, and if so, wliat is it worth?
                                                               APPROXIMATE VALUE             DESCRIPTION & AMOUNT OWED
 INCOME                                   Home              $
    &              PROPERTY               Car/Truck/Veliicle$
 ASSETS
                                          Boat              $
                                          Stocks/bonds $
                                          Other property $
                     CASH
                      &
                                          Do you have any cash, or money in savings or checking accounts? □ Yes
                     BANK
                                          IF YES, give the total approximate amount after monthly expenses $
                   ACCOUNTS
                       How many people do you financially support?
                                          BILLS & DEBTS                    MONTHLY EXPENSE             TOTAL DEBT
                                          Housing                          $                           $
                                              Groceries                                                $
                                              Medical expenses                                         $
OBLIGATIONS,                                  Utilities                                                $
EXPENSES, &                                   Credit cards                                             $
    DEBTS                                     Car/TruckWehicle
                                              Childcare
                                              Child support
                                          Insurance
                                          Loans
                                          Fines
                                          Other                            $     517

           I certify under penalty of perjury' that the foregoing is true and correct.

                                                                                                  11/9/2022

                            SIGNATURE OF DEFENDANT                                                         Date
                   (OR PERSON SEEKING REPRESENTATION)
    Case 1:22-mc-03326-VMS Document 1 Filed 11/10/22 Page 5 of 7 PageID #: 5




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,
                                                                                     22-CR-500(NM)
                            -V-


                                                                                          ORDER
 ANDREW PAGAN,
                                              Defendant(s).




VERA M.SCANLON,United States Magistrate Judge:
       This Order is entered, pursuant to Federal Rule of Criminal Procedure 5(f) and the Due
Process Protections Act,Pub. L.No 116-182,134 Stat. 894(Oct. 21,2020),to confirm the
Government's disclosure obligations under Brady v. Maryland,373 U.S. 83(1963),and its
progeny,and to summarize the possible consequences of violating those obligations.
       The Government must disclose to the defense all information "favorable to an accused" that
 is "material either to guilt or to punishment" and that is known to the Government. Id. at 87. This
 obligation applies regardless of whether the defendant requests this information or whether the
 information would itself constitute admissible evidence. The Government shall disclose such
 information to the defense promptly after its existence becomes known to the Government so that
 the defense may make effective use ofthe information in the preparation of its case.
        As part ofthese obligations,the Government must disclose any information that can be used
 to impeach the trial testimony of a Government wimess within the meaning of GigUo v. United
 States,405 U.S. 150(1972),and its progeny. Such information must be disclosed sufficiently in
  advance oftrial in order for the defendant to make effective use of it at trial or at such other time as
  the Court may order.'


   This   Order does not purport to set forth an exhaustive list ofthe Government's diseiosure obligations.
     Case 1:22-mc-03326-VMS Document 1 Filed 11/10/22 Page 6 of 7 PageID #: 6




       The foregoing obligations are continuing ones and apply to materials that become known to
the Government in the future. These obligations also apply to information that is otherwise subject
to disclosure regardless of whether the Government credits it.
        In the event the Government believes that a disclosure under this Order would compromise
witness safety, victim rights, national security, a sensitive law-enforcement technique, or any other
substantial government interest, it may apply to the Court for a modification of its obligations,
which may include in camera review or withholding or subjecting to a protective order all or part of
the information otherwise subject to disclosure.
        For purposes ofthis Order,the Government has an affirmative obligation to seek all
 information subject to disclosure under this Order from all current or former federal, state, and local
 prosecutors,law enforcement officers, and other officers who have participated in the prosecution,
 or investigation that led to the prosecution,ofthe offense or offenses with which the defendant is
 charged.

         Ifthe Government fails to comply with this Order, the Court,in addition to ordenng
  production ofthe information, may.
         (1) specify the terms and conditions ofsuch production,
         (2) grant a continuance;
          (3) impose evidentiary sanctions;
          rat itrmose contempt or other sanctions on any lawyer responsible for violations offte
              ^^eSrsure obligations,or refer the matter to disciplinary authonties;
          (5) dismiss charges before trial or vacate a conviction after trial or a guilty plea; or
          (6) enter any other order that is just under the circumstances.


                                              forth separate procedures to be followed in the event that the^
   U.S.C. app. 3 §§ 1
   Case 1:22-mc-03326-VMS Document 1 Filed 11/10/22 Page 7 of 7 PageID #: 7




    so ORDERED;

Dated: NOVEMBER 9,2022
       BROOKLYN,NEW YORK

                                               l/ef^-a M. S&OinloK
                                            United States Magistrate Judge
